Case 2:07-cr-00785-BRM          Document 235           Filed 06/12/12     Page 1 of 1 PageID: 5716




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                         UNITED STA TES DISTRICT COURT
                            DISTRICT OF NEW JERSEY

 UNITED STATES OF AMERICA,                                       Hon. Jose L. Linares

                                                   Plaintiff     CRIMINAL No. 07-785
         V.

                                                                 ,QPOj ORDER
 LASSISSI AFOLABI,

                                                   Defendant,
         and

 Bank of America, and Wachovia Bank,
 and its successors or assigns,
                                                   Garnishees.

       Pursuant to Defendant Lassissi Afolabi’s request for an extension of time to file objections

to writs of garnished sought by the United States of America (Dkt. #234), and the United States

having no objection to the request; it is

HEREBY ORDERED that the Court grants Defendant 30 additional days, until July 11,2012, to

file any objections to the writs of garnishment.

Dated this     / day of June, 2012.



                                                                        States District Judge
